Case 0:18-cv-62291-JIC Document 1-1 Entered on FLSD Docket 09/26/2018 Page 1 of 20




                       EXHIBIT A
Case 0:18-cv-62291-JIC Document 1-1 Entered on FLSD Docket 09/26/2018 Page 2 of 20



                   IN THE CIRCUIT COURT OF THE 17TH JUDICIAL CIRCUIT
                       IN AND FOR BRO WARD COUNTY CIVIL DIVISION

                                                                         CASE NO.: CACE 18-018611

       GREGORY LIGHT,
                                                                        JURY TRIAL DEMANDED
                       Plaintiff,

       vs.

       SETERUS, INC.

                     Defendant.


                           NOTICE OF COMMENCEMENT OF ACTION TO:

    SETERUS, INC.
    c/o CT CORPORATION SYSTEM
    1200 SOUTH PINE ISLAND ROAD, #250
    PLANATION, FL 33324

            A lawsuit has been commenced against you (or the entity on whose behalf you are
    addressed)., A copy,of the complaint is attached to this notice. The complaint has been filed in the
    17th Judicial Circuit Court for Broward County and has been assigned case no. CACE 18-018611

           This is not a formal summons or notification from the court, but is rather my request that
    you sign the enclosed waiver of service of process form in order to save the cost of serving you
    with a judicial summons and an additional copy of the complaint. The cost of service will be
    avoided if I receive a signed copy of the waiver within 20 days (30 days if you do not reside in the
    United States) after the date you receive this notice and request for waiver. I have enclosed a
    stamped self-addressed envelope for your use. An extra copy of the notice and request, including
    the waiver, is also attached for your records.

            If you comply with this request and return the signed waiver, it will be filed with the court
    and no summons will be served on you. The lawsuit will then proceed as if you had been served
    on the date the waiver is filed, except that you will not be obligated to respond to the complaint
    until 60 days after the date on which you received the notice and request for waiver.

            If I do not receive the signed waiver within 20 days from the date you received the notice
    and the waiver of service of process form, formal service of process may be initiated in a manner
    authorized, by the Florida Rules of Civil Procedure. You (or the party on whose behalf you are
    addressed) Will . be, required to pay the full cost of such service unless good cause is shown for the
    failure to return the waiver of service.

                                                                                                         Page 1 of 2
                   Light. &Gonzalez, PLLC, 150 S. Pine Island Rd., Ste. 300, Plantation, FL 33324
Te1ephone;,754-900-.045 .1 Fax: 7547293-2700 I Email: service@lightgonzalezlaw.com I haps://lightgonzalezlaw.com
l•
     Case 0:18-cv-62291-JIC Document 1-1 Entered on FLSD Docket 09/26/2018 Page 3 of 20



                I hereby certify that this notice of lawsuit and request for waiver of service of process has
         been sent to you on behalf of the plaintiff on August 20, 2018.


                                                    /s/ Anthony Gonzalez
                                                    Anthony Gonzalez, Esq.
                                                    Florida Bar Number: 119756
                                                    E-mail: anthony@lightgonzalezlaw.com
                                                    Secondary E-mail: service@lightgonzalezlaw.com
                                                    LIGHT & GONZALEZ, PLLC
                                                    Attorneys for Plaintiff Gregory Light
                                                    150 S. Pine Island Rd., #300
                                                    Plantation, FL 33324
                                                    Telephone: (754) 900-6545




                                                                                                              Page 2 of 2
                         Light & Gonzalez, PLLC, 150 S. Pine Island Rd., Ste. 300, Plantation, FL 33324
     Telephone: 754-900-6545 I Fax: 754-203-2700 I Email: service@lightgonzalezlaw.com I https://lightgonzalezlaw.com
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                                                                                       Division: 04 Page 4 of 20
                     Filing # 75979709 E-Filed 08/03/2018 05:07:51 PM


                                                  IN THE CIRCUIT COURT OF THE 17TH JUDICIAL CIRCUIT -
                                                      IN AND FOR BRO WARD COUNTY CIVIL DIVISION    .

                                                                                                  CASE NO.:

                                   GREGORY LIGHT,
                                                                                                 JURY TRIAL DEMANDED
                                                        Plaintiff,

                                   vs.

                                   SETERUS, INC.

                                                       Defendant.

   ,
                               ,                                               COMPLAINT
       .41,:, ......1,1
         t                         • '-
                                        COME NOW, the Plaintiff, GREGORY LIGHT ("Plaintiff), by and through undersigned
                             , "                                                                                       ,
        ,
       t:.
        -                        counsel, and sbr,irig this action against the Defendant, SETERUS, INC. ("SETERUS"). and as
                                    ,              , • ;„, ,,
,:, ''' ..' l''
1                                          .. •      —-
                                 grounds thereof wOuld allege as follows:

                                                                             INTRODUCTION

                                         1.            This action is brought by a Plaintiff for SETERUS's violations of the Telephone
                                                                                                                           •
                                Consumer Protection Act, 47 U.S.0 § 227, et seq. ("TCPA") and the Fair Debt Collection Practices

                                Act 15. U.S.0 § 1692, et seq. ("FDCPA").
                                                                                                             ;
                                         2.            The TCPA prohibits any person "to make any call (other than .for emergency

                                purposes or Made with the prior consent of the called party) using any automatic telephone dialing
                                                  '
                                system or any:ai-rifici41 or prerecorded voice — (iii) to any telephone number assigned to a paging
                                        N.-••              .    .
                                service, celluig.telephone service, specialized mobile radio service, or other radio common carrier
                                                   ••'<1.:$*1
                                service;'or any seri/ice for which the called party is charged for the call." 47 U.S.C. § 227(b)(1)(A).
                                              '   -'     •

                                     3.       The FDCPA prohibits debt collectors from "engag[ing] many conduct the natural
                                                •
                                   • •            •'       •
                                consequence of which is to harass, oppress, or abuse any person in connection with
                                                                                                                 _ •.•the collection
                                                                                                                          •     Page 1 of 11
                                               Light & Gonzalez, PLLC, 150 S. Pine Island Rd., Ste. 309, Plantation, FL 33324
                            Telephone: 754-900-6545 I Fax: 754-203-2700 I Email: service@lightgonzalezlaw.coin
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                                    *** FILED: BROWARD COUNTY, FL BRENDA D. FORMAN, CLERK. 8/3/201.8 5:07:50 PM.****
                    Case 0:18-cv-62291-JIC Document 1-1 Entered on FLSD Docket 09/26/2018 Page 5 of 20                                                                                                                                                                                                     ,
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                                                   statutes. Consequently. Plaintiff Seeks injunctive
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            (...                   with,respectAolhe collection of Conrad Ant.hony McPhelson's alleged debt,',-                                                                                  4. - N •                      ,ict
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Case 0:18-cv-62291-JIC Document 1-1 Entered on FLSD Docket 09/26/2018 Page 6 of 20




                          The primary function of SETERUS's business is to collect payments duet° others.

                          SETERUS, was hired to collect the disputed debt by Federal National Mortgage

      Association ("Fannie Mae").

                          The debt that SETERUS sought to collect from the Plaintiff is an alleged debt

      ariSing fi-ora.trari.sactiops entered into primarily for personal, family or household purposes.
                                 '
                        ,Arali times material hereto, the debt in question was a '"debt" as said term is defined



                          At all times relevant to this. Complaint, Plaintiff, Was andiS,-a natural,person,and/or
                              s..
                                                         , PA by virtue of being directly 'affected by
      person with Standing\ to, bring a claim under the TC

      violations of the Act.

             1./.   At all times relevant to this Complaint. Plaintiff„..waS and is:. a naturat...,Person,,
                                       . ..                          . _              ,                ..'.'„,.
                                                                                   ..
      protected from haraSsment
                      ..,, ,     or,abuse in connection. With the collectiom.efa
                                                                          ... <, ,        .,,, ,...With standing
                                                                                        debt,                   .., .,. - to

      bring a claim under the FDCPA: See Miljkovic v. Shafi-itz 8:- Dinkin,PA, 791 Fi3d 1291, 1300

      (11th Cir. 2015) (holding "any person", including a debtor's attorney, is .,protected from being

      harasSed, oppressed or abused by a debt collector in connection with the collection of a debt).

                              BACKGROUND AND GENERAL ALLEGATIONS
                               p..,
                          SETERUS sought to collect a debt from Conrad Anthony, McPherson, Plaintiffs
                .    ,
      client, arising from an olleged mortgage loan (the "Debt") incurred by Conrad Anthony McPherson
             ,
      for personal, faiIily, or household Purposes.
                                     ,
            49.       Upon information and belief, SETERUS, by and through its agents,' representatives

      and/or employees . acting within the scope of their authority, attempted, to collect,the Debt from

      Cbnrad Anthony McPherson by using an automatic telephone dialing ,system to place numeronS

      telephone calls to Plaintiff's cellular telephone, (954) XXX-3532 and to Plaintiffs work phone
                                                                                                             Page 3 of 11
                    . Light & Gonzalez, PLLC, 150 S. Pine Island Rd., Ste. 300, Plantation, FL 33324
  Telephone: 754-:900-6545' I Fax.: 754-203-2700 I Email : service@lightgonzalezlaw.C011i
      https://lightgonzalezlaw.com
                    x•?..Z.k\N       •
Case 0:18-cv-62291-JIC Document 1-1 Entered on FLSD Docket 09/26/2018 Page 7 of 20



                   ,
      number (754):XXX-65.45 which forwards calls to Plaintiffs aforementioned cellular ,telephone.

      SETERUS alsRcUip toyed prerecorded or machine-operated voice message in connection with said
          -                                                                                             •' s




                        Upon.;,arisWering any of these calls, Plaintiff would be greeted by an automated,

      machine-operated voice message or a noticeable period of "dead air" While the caller's auto-dialing

      system attempted to connect the Plaintiff to a live telephone employee.

              21.       Plaintiff is the sole owner, possessor, subscriber and user of the cellular telephone

      that SETERUS was calling.

             22.       SETERUS's calls originated from various numbers including but ,ndt limited to

      866-570-52

                       ..,SETERUS,called Plaintiff a multitude of times in ,a -campaign designed to apply
                                 -
      'maximum psycholgtEal stress to Plaintiff with the aim of pressuring Conrad Anthony McPherson

      into paying ti:1 -DetstAgETERVS''s calling campaign included multiple calls a day and/or calls on
                             •
      back-to-back days A :sampling of SETERUS's campaign include, but Are not limited to, calls

      placed on:




                       Aprit 25, 2018

                       April A, 2018'

          • 24.,..     SETERUS's
                         ,       placement of telephone. calls to Plaintiffs cellular tplphone were

      unsolicited apd'incessa,nt.
                       .
           .•, kz:>-       ... :          ,                                                             Page;4 of 11
                           •

                      :Light & gezalez,. PLLc, 150 S. Pine Island Irkd., Ste 309, plantation, FL 33324 N,
  Telephone; 775:4-900-6545A . .. Fax 754.-03-2700 I Email: service@lightgonzalezlaw.cpin I
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                          ETERLISinformed‘Plaintiff that their. "investor guidelines7 required them to call .

      Plaintiff Using adidomated,telephone dialing system up to five times per day if they had not made

     .contact with Plaintiff or Conrad Anthony McPherson within the previous five day period.

            26           Plaintiff lawfully revoked his consent to receipt of calls - from an automated

      telephone dialing system and repeatedly demanded. that SETERUS stop using an automated

      telephone dialing system to place calls to Plaintiffs cellphone.

            27.          SETERUS ignored and even expressly refused to comply with Plaintiffs repeated

      demands.

            28.      . Plaintiff was damaged by these unlawful calls. Plaintiff's privacy was improperly

      invaded, his peace was disturbed, he was distracted, his cellular. telephone- battery
                                                                                          . and Memory

      was,taxed, his-celliilar telephone and business lines were fied-up, and he was forced to spend

      unnecqssary timesand mental energy tending to unwanted calls.

            29           Thc,,:natural consequence of these repeated, unwanted calls using an automated

      dialing systetri-was to harass, oppress, and abuse Plaintiff

            30.          ,klone of SETERUS's telephone calls placed to Plaintiff were for ",emergency

      purposes" as specified in 47 U.S.C. §227(b)(1)(A).

            31,          Upoo,information and belief, SETERUS knew that it. calling techniques were in

      violation of the TCPA, yet SETERUS still continued to use therri in willfitt or knowing violation

      of the TCP.A.--,

                   COUNT I- VIOLATION OF THE TCPA, 47 U.S.0 227(b)(I)(4)(iii)

                         Plaintiff repeats, realleges and incorporates by reference herein paragraphs l
                   iOr            N-
                  kabove.

                     ,SETERUS placed Many non-emergency, calls, including butnot limited to the calls
                                                                                                       Page 5 of 11
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      ht-tps://lightgorqa,lezlaw.com
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                 referenced above, to Plaintiffs cellular telephone using an automatic telephone dialing system in

                 violation of 47 U.S.0 § 227(b)(1)(A)(iii).

                       34.       It is a violation of the TCPA, 47 U.S.C. § 227(b) to call a person's cellular telephone

                 by using an automatic telephone dialing system or prerecorded message without that person's prior

                 express consent.

                       35.       Upon information and belief, the aforcsaid calls to Plaintiffs cellular telephone were

                placed using an automated
                                 -        telephone dialing system and/or employed a prerecorded voice message.

                These calls bore telltale signs of an automation, such as a prerecorded message or a noticeable gap

                between picking up the call and a human being coming on the line.

                       36.       In fact,,multiple SETERUS representatives affirmatively represented that they had
      -
                used an automated telephone dialing system to call Plaintiff.

                       37.       According to findings by the Federal Communication Commission ("FCC"), the

                agency Congress vested with authority to issue regulations implementing the TCPA, such calls as

                those specifically alleged herein are prohibited because, as Congress _found, automated or

                prerecorded telephone calls are a greater nuisance and invasion of privacy, and such calls can be

                costly and inconvenient. Rules and Regulations Implementing the Telephone Consumer Protection

                Act of 1991, CO Docket No. 02-278, Report and Order, 18 FCC Red 14014 (2003).

                      38.        SETERUS's method of contacting Plaintiff is indicative of its ability to dial

                numbers without any human intervention in the calling process, which the FCC has opined is the
                          .                  .
                hallmark of an automatic telephone dialing system (i.e. auto-dialer). See In the Matter of Rules &

                Regulation.s7mplementing The Telephone Consumer Protection Act of 2008, CG Docket No. 02-
04,                 ,     • ..N1      ."    '
                278, FCC 07-232 (1/4/08) rl 11-13; in the Matter of Rules & Regulations Implementing the
                                         - ••
                Telephone Consumer Protection Act 0'1991, 2003 WL 21517583,18 F.C.C.R. 14014, ¶ 132 (Fed.
                                                                                                                  l'age 6 of 1.1
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                   Commc'n Cmm'n July 3, 2003).

                         39.       Under the TCPA, and pursuant to the FCC's January 2008 Declaratory Ruling, the

                   burden is on SETERUS to demonstrate that Plaintiff provided express consent within the meaning

                   of the statute. See FCC Declaratory Ruling, 23 F.C.C.R. at 565 (110).

                         40.       .SETERUS, through its agents, representatives and/or employees acting within the

                   scope of their authority, acted willfully and therefore intentionally violated the TCPA, 47 .U.S.0 §
                                          •-:
                   227 (b)(1)(A)(iii).. Pursuant to the FCC's interpretation regarding willfulness, "willful or knowing"

                   requires merely that "the violator knew that he was doing the act in question. . . A violator need

                   not know that his action or inaction constitutes a violation." In re Dynasty 214ortg., L.L.C., 22

                   F.C.C. Rcd. 9453, 9470 n.86, 2007 WL 1427724 (F.C.C. May 14, 2007).

                         41.       Congress enacted the TCPA to prevent real harm. Congress found that "automated

                   or pre-recorded calls are a nuisance and an invasion of privacy, regardless of the type of call" and

                   decided that "banning" such calls made without consent was "the only effective means of

                   protecting telephone consumers from this nuisance and privacy invasion." Pub. L. No. 102-243,

                   §§ 2(10-13) (Dec. 20, 1991), codified at 47 U.S.C. § 227. See also Minis v. Arrow Fin. Seri.,

                   L.L.C., 132 S. Ct. 746, 744, 181 L. Ed. 2d 881 (2012) ("The Act bans certain practices invasive of

    44, .          privacy"):
„
                         42.       In sum, SETERUS made telephone calls to Plaintiff's cellular telephone, which

                   were either initiated by an automatic telephone dialing system and/or contained a pre-recorded

                   message and were made without the prior express consent of Plaintiff.

                         43.       SETERUS's phone calls harmed Plaintiff by causing the very harm that Congress

                   sought to prevent—a "nuisance and invasion of privacy."

                         44.       SETERUS's phone calls also harmed Plaintiff by (1) trespassing upon and
                                                                                                                   l'age 7 of 11
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                   https://lightgonzlezlaw.com
                                   '•                  ,
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       interfering with Plaintiffs rights and interests in access to his cellular telephone and telephone

       line; (2) intruding upon Plaintiffs seclusion and privacy; (3) wasting Plaintiffs time and mental

       energy; (4) depleting the battery life on Plaintiffs cellular telephone; (5) using memory storage

       space in Plaintiff's cellular telephone; and (6) causing Plaintiff aggravation, indignation,

       humiliation, embarrassment, anxiety, anguish, depression, unwarranted stress and loss of

       enjoyment of life.

                 45.    As a result of SETERUS's violations of 47 U.S.C. § 227 et seq, Plaintiff is entitled

       to an award of $1,500.00 in statutory damages, for each and every willful or knowing violation,

       pursuant to 47 U.S.C. § 227(b)(3)(C), and $500.00 in statutory damages, for each and every

       negligent violation, pursuant to 47 .U.S.C. § 227(b)(3)(B).

             46.        Plaintiff is also entitled to injunctive relief prohibiting SETERUS from contacting

       the Plaintiff on his cellular phone using an automated dialing system pursuant to the 47 U.S.C. §

       227(b)(3)(a).
            t.    •
                  WHEREFORE, Plaintiff respectfully prays that judgment be entered against SETERUS

       for statutory damages of $1,500.00 for each and every violation, an order be entered enjoining

       SETERUS from calling Plaintiffs cellular telephone by use of an automatic dialing system, and

       for such other and further relief as justice may require.

                                                 COUNT II
                                          VIOLATION OF THE FDCPA

                 47.    Plaintiff repeats, realleges and incorporates by reference herein .paragraphs I

       through 31 above.




                                                                                                        l'age 8 of 11
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       https://lightgongaleziaw.com
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               . 48.     Defendant SETERUS. violated §1692d of the FDCPA by engaging in conduct the

       natural consequence of which was to harass, oppress, or abuse Plaintiff in connection with the

       collection of a debt,

                 49.     15 U.S.C. § 1692d states:

                  A debt _collector may not engage in any conduct the natural consequence of which
                  is to harass, oppress, or abuse any person in connection with the collection of a
                  debt. Without limiting the general application of the foregoing, the following
                  conduct is a violation of this section:



                  (5) Causing a telephone to ring or engaging any person in telephone conversation
                  repeatedly or continuously with intent to annoy, abuse, or harass any person at the
                  called number.

                 50.     The FDCPA prohibits debt collectors from harassing, oppressing, or abusing any

       person in connection,with the collection of a debt, not just the consumer. 15 U.S.C. § 1692d.

             ,.5l. • , Jflie FDCA also provides that if debt collector fails to comply with any provision

       with respect to any, person they willbe liable to such person for actual damages, statutory damages,

       and attorney's fees and costs. See 15 U.S.C. § 1692k.

                 52.     On. or about July of 2017, Defendant SETERUS began calling Plaintiff and

       Plaintiff's law firm in an attempt to collect the owed by Conrad Anthony McPherson.

                53.      These calls were placed using an automated telephone dialing system and/or

       employed a prerecorded voice message. These calls bore telltale signs of an automation, such as a

       prerecorded message or a noticeable gap between picking up the call and a human being coming on

       the line. Frequently these calls would disconnect without a representative eyer being connected.

                54.      Multiple SETERUS representatives confirmed that they were utilizing an automated
       • '         •

       telephone dialing system to call Plaintiff on his cellphone and to his business line which forwarded
                             •

                             •                                                                          Page 9 of 11
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                     z
       to lig cellp.hone..!‘'

               55.       On a date better known to Defendant, Plaintiff requested that SETERUS stop

       contacting him using an automated dialing system because the calls would frequently disconnect,

       and that the incessant phone calls were disrupting his business.

               56.       On a date better known to Defendant, one representative for Defendant agreed to

       request Plaintiffs number be removed from Defendant's automatic dialing list, and assured

       Plaintiff that Defendant would submit the request to SETERUS in writing; Notwithstanding the

       foregoing, the calls continued and in subsequent communications with Defendant, Defendant

       confirmed that requests often went ignored by SETERUS.

               57.       The times when the calls would connect, Defendant SETERUS's stated purpose for

       these communications was . to learn what Mr. McPherson intended to do with his mortgaged

       property; Plaintiff communicated Mr. McPherson's intentions on numerous occasions, but

       SETERUS continued to call incessantly, up to five times per day.

               58.       SETERUS continuously and repeatedly engaged Plaintiff in conversation to ask

       these questions and others that Plaintiff had already provided the answer to, e.g. whether property

       had been affected by Hurricane Irma.

               59.       Astonishingly, it would often be the same SETERUS representative (Toby) asking

       Plaintiff the same questions he had already answered.

               60.       SETERUS's intention in repeatedly and continuously causing Plaintifrs cellphone

       to ring was to annoy, abuse, or harass Plaintiff.

               61.       SETERUS's intention in repeatedly and continuously engaging Plaintiff in
           -
       coniiersation was to annoy, abuse, or harass Plaintiff.
                     •      •


                           ...                                                                          I: age 1.0 of 11
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              62.      The abovementioned conduct all had the natural consequence of harassing, abusing,

      and/or oppressing Plaintiff.

             63.       As a result of SETERUS's conduct, Plaintiff has suffered actual damages,

      including, but not limited to mental suffering, anguish, loss of income, and personal and/or

      financial credibility and reputation, whereby Plaintiff is entitled to relief for such, in addition to

      statutory damages, attorney's fees and costs.

              WHEREFORE. PLAINTIFF,requests this Court,enter a judgment aualast.Defendant for

      S1,000.00 statutory damages, actual damages, attorney's fees, filing fees and costs, and such other

      equitable relief this Court deems just and proper pursuant to 15 !U.S.C. § 1692k.

                                         DEMAND FOR JURY TRIAL

              Plaintiff, GREGORY LIGHT, hereby demands a trial by jury of all issues so triable.


                                               /s/ Anthony Gonzalez
                                               Anthony Gonzalez, Esq.
                                              !Florida Bar Number: 119756 -
                                               Primary Service E-mail: service@lightgo.nzalezlaw.co.m
                                               Secondary E-mail: anthony@lightgonzalezlaw.com
                                               LIGHT & GO.NZA.LEZ, PLLC
                                               Attorney for Plaintiff
                                               150 S. Pine Island Rd., #300
                                               Plantation, FL 33324
                                               Telephone: (754) 900-6545
                                              .Facsimile: (754) 203,2700




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                   IN THE CIRCUIT COURT OF THE 17TH JUDICIAL CIRCUIT
                       IN AND FOR BRO WARD COUNTY CIVIL DIVISION

                                                                        CASE NO.: CACE 18-018611

       GREGORY LIGHT,
                                                                       JURY TRIAL DEMANDED
                       Plaintiff,

       vs.

       SETERUS, INC.

                     Defendant.


                           NOTICE OF COMMENCEMENT OF ACTION TO:

    SETERUS, INC.
    c/o CT CORPORATION SYSTEM
    1200 SOUTH PINE ISLAND ROAD, #250
    PLANATION, FL 33324

           A lawsuit has been commenced against you (or the entity on whose behalf you are
    addressed). A copy of the complaint is attached to this notice. The complaint has been filed in the
    17th Judicial Circuit Court for Broward County and has been assigned case no. CACE 18-018611

           This is not a formal summons or notification from the court, but is rather my request that
    you sign the enclosed waiver of service of process form in order to save the cost of serving you
    with a judicial summons and an additional copy of the complaint. The cost of service will be
    avoided if I receiye a signed copy of the waiver within 20 days (30 days if you do not reside in the
    United States) after the date you receive this notice and request for waiver. I have enclosed a
    stamped self-addressed envelope for your use. An extra copy of the notice and request, including
    the waiver, is also attached for your records.

            If you comply with this request and return the signed waiver, it will be filed with the court
    and no summons will be served on you. The lawsuit will then proceed as if you had been served
    on the date he waiver is filed, except that you will not be obligated to respond to the complaint
    until 60 days after the date on which you received the notice and request for waiver.

            If I do not receive the signed waiver within 20 days from the date you received the notice
    and the waiver of service of process form, formal service of process may be initiated in a manner
    authorized by the Florida Rules of Civil Procedure. You (or the party on whose behalf you are
    addressed) will be required to pay the full cost of such service unless good cause is shown for the
    failure to return the waiver of service.

                                                                                                        Page 1 of 2
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           I hereby certify that this notice of lawsuit and request for waiver of service of process has
    been sent to you on behalf of the plaintiff on August 20, 2018.


                                              /s/ Anthony Gonzalez
                                              Anthony Gonzalez, Esq.
                                              Florida Bar Number: 119756
                                              E-mail: anthony@lightgonzalezlaw.corn
                                              Secondary E-mail: service@lightgonzalezlaw.com
                                              LIGHT & GONZALEZ, PLLC
                                              Attorneys for Plaintiff Gregory Light
                                              150 S. Pine Island Rd., #300
                                              Plantation, FL 33324
                                              Telephone: (754) 900-6545




                                                                                                       Page 2 of 2
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                  IN THE CIRCUIT COURT OF THE 17TH JUDICIAL CIRCUIT
                      IN AND FOR BRO WARD COUNTY CIVIL DIVISION

                                                                  CASE NO.: CACE 18-018611

     GREGORY LIGHT,
                                                                  JURY TRIAL DEMANDED
                    Plaintiff,

     vs.

     SETERUS, INC.

                   Defendant.


                            _ WAIVER OF SERVICE OF PROCESS

   TO:     ANTHONY GONZALEZ, ESQ.
           ATTQRNEYi. FOR GREGORY LIGHT
           LIGHT 8i pONZALEZ, PLLC
           150 S. PINE ISLAND RD. #300
           PLANTATION, FL 33324

             •,, • •
           I acknowledge receipt of your request that I waive service of process in the lawsuit of
   GREGORY LIGHT, ,y.; SETURUS, INC. in the Circuit Court of the 17th Judicial Circuit in and for
   Broward County, Florida, Civil Division. I have also received a copy of the complaint, two copies
   of this waiver, and a means by which I can return the signed waiver to you without cost to me.

          I agree to save the cost of service of process and an additional copy of the complaint in this
   lawsuit by not requiring that I (or the entity on whose behalf I am acting) be served with judicial
   process in the manner provided by Fla. R. Civ. P. 1.070.

           If I am not the defendant to whom the notice of lawsuit and waiver of service of process
   was sent, I declare that my relationship to the entity or person to whom the notice was sent and my
   authority to accept service on behalf of such person or entity is as follows:

           (des,eiib,e relationship to person or entity and authority to accept service)
             ;

            .1.
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              I (or the entity on whose behalf I am acting) will retain all defenses or objections to the
       lawsuit or to the jurisdiction or venue of the court except for any objections based on a defect in
       the summons or in the service of the summons. I understand that a judgment may be entered against
       me (or the party on whose behalf I am acting) if a written response is not served upon you within
       60 days from the date I received the notice of lawsuit and request for waiver of service of process.

              DATED on                              ,2018




                                                     SETERUS, INC. or SETERUS, INC.'s
                                                     Representative
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                 IN THE CIRCUIT COURT OF THE 17TH JUDICIAL CIRCUIT
                     IN AND FOR BRO WARD COUNTY CIVIL DIVISION

                                                                 CASE NO.: CACE 18-018611

     GREGORY LIGHT,
                                                                JURY TRIAL DEMANDED
                    Plaintiff,

     vs.

     SETERUS, INC.

                  Defendant.


                                 WAIVER OF SERVICE OF PROCESS

   TO:     ANTHONY GONZALEZ, ESQ.
           ATTORNEY FOR GREGORY LIGHT
           LIGHT & GONZALEZ, PLLC
           150 S. PINE ISLAND RD. #300
           PLANTATION, FL 33324


            I acknowledge receipt of your request that I waive service of process in the lawsuit of
   GREGORY LIGHT:iy,:SETURUS, INC. in the Circuit Court of the 17th Judicial Circuit in and for
   Broward County F1crida, Civil Division. I have also received a copy of the complaint, two copies
   of .this waiver, and a means by which I can return the signed waiver to you without cost to me.

     ••, II.agree.to-save the cost of service of process and an additional copy of the complaint in this
   lawsuit by not requiring that I (or the entity on whose behalf I am acting) be served with judicial
   process in the manner, provided by Fla. R. Civ. P. 1.070.

           If I am not the defendant to whom the notice of lawsuit and waiver of service of process
   was sent, I declare that my relationship to the entity or person to whom the notice was sent and my
   authority to accept service on behalf of such person or entity is as'follows:

           (describe relationship to person or entity and authority to accept service)
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          I (or the entity on whose behalf I am acting) will retain all defenses or objections to the
   lawsuit or to the jurisdiction or venue of the court except for any objections based on a defect in
   the summons or in the service of the summons. I understand that a judgment may be entered against
   me (or the party on whose behalf I am acting) if a written response is not served upon you within
   60 days from the date I received the notice of lawsuit and request for waiver of service of process.

          DATED on                              ,2018




                                                 SETERUS, INC. or SETERUS, INC.'s
                                                 Representative




              r
